 .          Case 3:19-cr-04341-DMS Document 90 Filed 04/24/20 PageID.244 Page 1 of 2
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case                                                           FILED
                                                                                                               APR 2 4 2020
                                      UNITED STATES DISTRICT COUF T
                                                                                                         CLERK. i.J 5. D-SE1CT CJLRT
                                         SOUTHERN DISTRICT OF CALIFORNIA                              soun,E'1N\){:;"RICT CF CiUF'.)RNI;;
                                                                                                      BY                         CEf''JTY

             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                 V.                                 (For Offenses Committed On or After November 1, 1987)

         JESUS IVAN GUTIERREZ-DUARTE (1)                               Case Number:         19CR4341-DMS

                                                                    Paul Blake CJA
                                                                    Defendant's Attorney
USM Number                       89679298
• -
THE DEFENDANT:
IZI pleaded guilty to count(s)         1 of the Superseding Information

D   was found guilty on count(s)
    after a olea of not guiltv.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                         Count
Title & Section                   Nature of Offense                                                                    Number(s)
8 USC 1324(a)(2)(B)(ii)           BRINGING IN ALIENS FOR FINANCIAL GAIN AND AIDING                                        IS
and 18 USC 2                      AND ABETTING




     The defendant is sentenced as provided in pages 2 through                2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D     The defendant has been found not guilty on count(s)

IZI Count(s)    remaining       are                                       dismissed on the motion of the United States.
                ---------------
      Assessment: $100.00



IZI   JVTA Assessment*:$ 5,000 ordered waived. Defendant found to be indigent.
      *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
IZI   No fine                D Forfeiture pursuant to order filed                                                , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant's economic circumstances.


                                                                    Date of Imposition of Sentence



                                                                    HON. Dana
                                                                    UNITED STATES DISTRICT JUDGE
            Case 3:19-cr-04341-DMS Document 90 Filed 04/24/20 PageID.245 Page 2 of 2
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

DEFENDANT:                 JESUS IVAN GUTIERREZ-DUARTE (l)                                         Judgment - Page 2 of2
CASE NUMBER:               19CR4341-DMS

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 THREE (3) YEARS.




 •      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZI    The court makes the following recommendations to the Bureau of Prisons:
        Defendant be designated to a facility in Southern California.




 •      The defendant is remanded to the custody of the United States Marshal.

 •      The defendant must surrender to the United States Marshal for this district:
        •    at
                 ---------                  A.M.              on
                                                                   -------------------
        •     as notified by the United States Marshal.

        The defendant must surrender for service of sentence at the institution designated by the Bureau of
 •      Prisons:
        •     on or before
        •     as notified by the United States Marshal.
        •     as notified by the Probation or Pretrial Services Office.

                                                        RETURN

 I have executed this judgment as follows:

        Defendant delivered on                                            to
                                 --------------                                ----------------
 at
       ------------ ,                       with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL



                                                                                                       19CR4341-DMS
